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                        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                                DISTRICT OF TEXAS MARSHALL DIVISION



SYMBOLOGY INNOVATIONS LLC
                                                          Civil Action No. 2:23-cv-419-JRG-RSP
                Plaintiff,

                v.

VALVE CORPORATION, GEARBOX
                                                          Jury Trial Requested
SOFTWARE, L.L.C.,

                Defendants.




      JOINT (AGREED) MOTION FOR ENTRY OF DISCOVERY ORDER

       Plaintiff Symbology Innovations LLC (“Symbology”) and Defendants Valve Corporation

(“Valve”) and Gearbox Software, LLC (“Gearbox”) (collectively, “Defendants”) file this Joint Motion for

Entry of Discovery Order. The parties have agreed on all provisions contained in the attached

Discovery Order.

       Having agreed upon the terms included therein and shown good cause, the parties respectfully

request the Court grant this Motion and enter the proposed Discovery Order, attached to this Joint

Motion below.




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Dated: December 19, 2023          Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies pursuant to Local Rule CV-7(h) that the relief requested

in this motion is agreed.

                                              /s/ Michael E. Jones




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